      Case 22-31780-swe13            Doc 132 Filed 07/18/24 Entered 07/18/24 11:25:18          Desc
                                       Main Document     Page 1 of 1




The following constitutes the ruling of the court and has the force and effect therein described.



Signed July 18, 2024
                                           United States Bankruptcy Judge
______________________________________________________________________




                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

       IN RE:                                                             CASE NO. 22-31780-swe13
       George Dale Wigington                                                        CHAPTER 13
       dba Law Office of G.D. Wigington
       PLLC,

             Debtor.
       _________________________________/

                                ORDER ON SECURED CREDITOR’S
                            MOTION FOR PARTIAL SUMMARY JUDGMENT

              This matter came on consideration upon Secured Creditor’s Motion for Partial Summary
      Judgment [Docket Entry 98, 94] at the January 9, 2024 hearing. For the reasons stated on the
      record, Secured Creditor’s Motion for Partial Summary Judgment is denied.

      IT IS THEREFORE ORDERED that Secured Creditor’s Motion for Partial Summary Judgment is
      denied.
                                ### END OF ORDER ###

      Submitted by:
      Tricia Ann Morra, TXBN 24117700
      Robertson, Anschutz, Schneid, Crane & Partners, PLLC
      Attorney for Secured Creditor
      5601 Executive Drive, Suite 400
      Irving, TX 75038
      817-873-3080 Ext 53156
      tmorra@raslg.com
                                                                                           1|Page
